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                      IN THE UNITED STATES COURT
                    FOR THE DISTRICT OF PUERTO RICO




      JUAN E. CORREA-ZAYAS,

            Plaintiff,
                                     CIV. NO.: 15-1585 (SCC)
               v.

      LUISA MIRANDA-MENCHACA,
      ET AL.

            Defendants.



               OMNIBUS OPINION AND ORDER

       The parties have filed 3 motions in limine for the court’s

    consideration at Docket Nos. 108, 109, and 110. Oppositions

    thereto, at Docket Nos. 111 and 112. In summary, plaintiff

    moves the court to exclude any evidence regarding the

    injuries suffered by B.J. and the photographs depicting the

    injuries; the report prepared by Dr. Osmar Rivera and his

    testimony and any reference to the theory that it was

    Boinayer, not BJ, who caused the injuries to plaintiff.

    Defendants, in turn, move the Court to exclude any reference
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    to the existence of an insurance policy and to exclude Mr.

    Jaime Medina Rivera’s expert testimony.

       I will rule on these requests seriatim:

             (i)      The injuries suffered by BJ (Dkt. No. 110)

       It is plaintiff’s contention that evidence relating to BJ’s

    injuries should be excluded on two grounds. First that

    defendants did not file a counterclaim for the damages

    suffered by their dog; and second, that this evidence lacks

    probative value. The Court disagrees. This evidence is not

    presented in support to a claim for damages for injuries

    sustained by BJ but rather to show the circumstances

    surrounding the incident that gave rise to the complaint. The

    Court thus finds that the evidence is relevant under Fed. R.

    Evid. 401.

       Now       we   turn   to   whether   the   photographs    are

    inflammatory and should be excluded under Fed. R. Evid.

    403 because their probative value is outweighed by the

    danger of unfair prejudice. The Court finds that the

    photographs depict the condition of the dog and are not

    unduly prejudicial or gruesome. They do not depict BJ’s face
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    in anguish or bleeding, but rather the extent of his injuries,

    which in turn may be used by the trier of facts to make

    inferences regarding the incident and the decisions taken by

    the plaintiff on that day. Photos are admissible if helpful to

    the trier of facts understanding of a fact of consequence in the

    litigation. See Michael H. Graham, Handbook of Federal

    Evidence § 401:7 (8th ed. 2018). However, the photographs

    may not be shown during opening statement, since they are

    not exhibits yet. They may be admitted only after the laying

    of proper foundation and authentication. See Fed. R. Evid.

    901.

             (ii)    Dr. Osmar Rivera’s Report and Testimony
                     (Dkt. 110)

       Dr. Rivera is not proferred as an expert, but rather as a

    treating physician. His testimony has probative value

    regarding the condition of BJ after the fight with Boinayer. He

    may testify as to the treatment afforded and his impressions

    of the condition of BJ while under his treatment. Dr. Rivera’s

    Report on the other hand is hearsay. It does not fall under any

    of the exceptions, since it is not a record kept within the Dr.’s
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    regular course of business and it was written at Ms. Miranda-

    Menchaca’s behest. See Fed. R. Evid. 803(6). It is, however, a

    prior statement made by Dr. Rivera and may be used by either

    party to refresh his recollection or to impeach him. See Fed.

    R. Evid. 612 and 613.

           (iii)     Defendants’ theory that Boinayer caused
                     plaintiff’s injuries (Dkt. 110)

       Defendants have asserted, from the Answer to the

    Complaint at Docket. No. 11, to the Proposed Pretrial at

    Docket No. 106, that plaintiff’s injuries were the result of his

    own doing by intervening between the dogs. The factual

    pattern that led to plaintiff’s intervention, the intervention

    itself and the events that followed are all in controversy and

    for the trier of facts to decide. It is clear from the record that

    plaintiff was injured during the intervention. Plaintiff posits

    that it was BJ that injured him; while P.E.M. and José

    Hernández Santana have stated that they don’t know.

        Plaintiff’s request that defendants be precluded from

    presenting this defense would strip the jury from making a

    credibility assessment as to plaintiff’s testimony. If the jury
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    fails to believe plaintiff’s version, then, the conclusion will be

    that Boinayer bit him, since there were no other dogs involved

    in the fight and nothing in the record suggests that plaintiff

    could have been possibly injured in any other way.

    Defendants may explore this defense and may mention it in

    opening statement, with the caveat, that defendants may say

    that it is their theory, but not a certainty. It will be a matter for

    the trier of facts to decide based on credibility assessments

    and inferences.

             (iv)     The exclusion of the existence of insurance
                      coverage (Dkt. No. 108)

       Defendants move the court for the exclusion of evidence

    relating to the existence of an insurance policy issued by

    Universal. Universal is a defendant in this case and was

    impleaded as the issuer of a liability policy to codefendants

    Miranda- Menchaca and López.

       Since plaintiff expressed in its Omnibus Opposition at

    Docket No. 111, that it would be amenable to a possible

    stipulation on this issue, the Court invites the parties to

    stipulate the matter. If the parties have not reached a
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    stipulation by the beginning of trial, the Court will rule on the

    same.

             (v)     Jaime Medina Rivera’s Expert Testimony
                     (Dkt. No. 109)

       Mr. Medina Rivera has been announced as an expert

    witness on dog behavior. Defendant’s object to the inclusion

    of his testimony on the basis that (1) he did not render an

    opinion on the conduct of the dogs involved in the incident;

    (2) he did not follow scientific methodology as to the

    formulation of his expert opinion; (3) his opinions are not

    relevant; and (4) his opinions do not assist the jury in

    understanding the essential facts or the evidence in this case.

    See Docket No. 109 at pg. 2.

       The Court finds that Mr. Medina Rivera’s opinion is not

    case-specific and that he did not follow a scientific

    methodology in his expert report. However, his opinions may

    be relevant and may assist the jury in its fact-finding mission

    because of his general knowledge of canine behavior. “The

    touchstone for the admission of expert testimony in federal

    court litigation is Federal Rule of Evidence 702.” Crowe v.
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    Marchand, 506 F.3d 13, 17 (1st Cir.2007). The Advisory

    Committee Notes to Rule 702 state, in pertinent part, that “the

    text of Rule 702 expressly contemplates that an expert may be

    qualified on the basis of experience.” 1 See also Kumho Tire Co.,

    Ltd. v. Carmichael, 526 U.S. 137, 156 (1999) (stating that "no one

    denies that an expert might draw a conclusion from a set of

    observations based on extensive and specialized experience.")

    But if the expert is "relying solely or primarily on experience,

    then the witness must explain how that experience leads to

    the conclusion reached, why that experience is a sufficient

    basis for the opinion, and how that experience is reliably

    applied to the facts." Advisory Committee’s Notes on Fed. R.

    Evid. 702.

        Consequently, Mr. Medina Rivera may testify as to

    general canine knowledge and behavior, but the Court will




    1 The notes further state: “Nothing in this amendment is intended to
    suggest that experience alone--or experience in conjunction with other
    knowledge, skill, training or education--may not provide a sufficient
    foundation for expert testimony.”
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    permit defendants to conduct voir dire before his testimony to

    define its scope and specific areas of expertise.

       IT IS SO ORDERED.
       In San Juan, Puerto Rico, this 4th day of December, 2018.

                   S/ SILVIA CARREÑO-COLL
                   UNITED STATES MAGISTRATE JUDGE
